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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
FIAZ AFZAL MD

Dr SHAHIDA SHUJA

Against
Civil Action No.
American Board of Internal Medicine

COMPLIANT

Jury Trial Yes

Parties in this complaint:
PLAINTIFFS
Fiaz Afzal MD

Address 65 Thorncliffe Park Dr, Unit 1715, Toronto, Ontario, M4H1L2 , CANADA

Phone 1-647-773-9028 Email fiazafzalnd@gmail.com

 
 

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PLAINTIFF #2
Shahida Shuja
Address 11818 Adel Road, Houston, Texas 77067

Phone 647-5104157 Email shahidashuja03@gmail.com

DEFENDANT
American Board of Internal Medicine
Address 510 Walnut street, suite 1700, Philadelphia, PA 19106-3699

Phone 1-800-441-2216 email request @abim.org

II. BASIS FOR JURISDICTION .

Under 28 U.S.C 1332 Diversity of Citizenship US citizen spouse in Texas and Fiaz

Afzal MD in Canada are suing American Board of internal Medicine ABIM in

Philadelphia in an amount that is more than $75000.

 
 

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Il. STATEMENT OF CLAIM

American Board of Internal Medicine ABIM is a private organization which is not
subject to any oversight by any regulatory organization . ABIM is acting as de
facto absolute power to control the right to practice Medicine in United States

and elsewhere .

State Medical Boards require licensing of practicing physicians in USA . ABIM
certification is NOT required for licensing in any US states but ABIM is

introducing its own regulation to exclude diverse doctors of minority origin .

ABIM should agree that holding physicians under strict number of attempts and
timed tests do not necessarily assess intelligence or ability . Bearing this issue _
ABIM has introduced Longitudinal Knowledge assessment LKA to maintain Board
certification from year 2022 .Exhibit 1 shows that key features include 4 minutes
per question , 120 questions per year with permission to access any resource used
in practice except another person . This pathway is available to those who are

already certified by ABIM . New certification still requires the old way of testing

Traditional 10 year MOC exam with 2 min per question 240 questions at one day

with no resources to consult and no additional time . The Longitudinal Knowledge

assessment LKA states” Don’t worry if you need more time you can add 1 minute

 
 

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increments from 30 min extra time from time bank” . LKA method provides a

reentry pathway for lapsed certification Exhibit 1 .

The new LKA assessment test involves 30 question each quarter at home or in
office availability . Final pass or fail to be determined at the end of 5 year cycle.
Longitudinal LKA assessment offers physicians greater flexibility , more
convenience and faster feedback . For most questions you will find out
immediately if your answers is right or wrong and rationales references will be
available for most questions . The ABIM video advertisement on ABIM website
acknowledges with LKA assessment you will spend most of your time learning to
keep your medical knowledge current , NOT PREPPING. ABIM also allows
resources to help you throughout the LKA journey . None of these flexibilities are
offered in 10 year traditional exam for first time certification . ABIM is
discriminating against Fiaz Afzal MD by refusing to allow new LKA assessment
participation Exhibit 1. ABIM has self made an expiration of eligibility rule
wherein it creates an ineligibility determination which requires RETRAINING in the

specialty for one year and only then can the physician take any kind of

assessment whatsoever Exhibit 4. Expiration of Eligibility to take any assessment

is a new concept of discrimination which is NOT a feature of any State Medical

Boards that license physicians in USA . State Medical Boards accept United States

 
 

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Medical Licensing examination USMLE 3 as meeting requirements for licensure .
Once a physician is licensed there is no feature of Expiration of Eligibility as done
by ABIM which is NOT a state licensing Board Each State Medical Board require
renewal of license but there is no such thing as Expiration of Eligibility to take any
exam . If state medical Board require physician can take Special Purpose Exam

SPEX administered by USMLE Federation of State Medical Board FSMB. Exhibit 9

ABIM has a history of discrimination against Afzal MD.. ABIM in year 1996 sent
two scores to Afzal MD but later refused to admit that it had mixed the results of
one candidate to another , See Exhibit 11. My score report was altered to
show | passed one component but failed other component by only score of 95
whereas passing score was 97. exhibit 11 .ABIM ruled out the possibility of any
test scoring error whatsoever at that time. Recently December 2020 Kentucky
Office of Bar admission acknowledged a test scoring error resulting in 18
applicants receiving incorrect information about their results See Exhibit 10

Scoring error occurred when an applicant identifier was entered into a database

spreadsheet twice, causing a limited number of the other applicants scores to be

misaligned and assigned to the wrong applicant . exhibit 10

 
 

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ABIM repeated this issue in year 2016 when it cancelled my paid admission to
summer 2016 certification exam on basis of Louisiana conviction that was
dismissed and Expunged already in Jan 2015 . Exhibit12 . Later on in year
2019 ABIM allows to take certification exam but with Fire drill occurring during
exam at Pearson Vue center . The fire drill disturbance during examination
resulted in approx. 10 minutes of wasted time during examination and
approximately 10 questions went unanswered for which additional time was
Denied . Exhibit 3. shows Pearson vue received complaint case 03308568 but
ABIM did not provide any accommodation to 10 minutes of disturbance during
examination time . ABIM policy states a candidate who believes that testing
conditions or other examination administration issues have been adversely.
affected the candidates ability to take and complete an examination should notify
the proctor at the test center, or contact ABIM as soon as possible after the exam

_ Afzal MD did both Exhibit 2. . ABIM states Re examination shall be the

candidates sole remedy . Now ABIM denied Re examination remedy saying in

letter Dec 7, 2020 that unfortunately it appears that 2019 was your final year of

Board Eligibility and an additional year of accredited training demonstrating

competency is required .Exhibit 4

 
 

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ABIM is not authorized under any state or Federal law to determine competency
and readiness for independent practice at the current standards of training . This
is the job of State Medical Boards to determine competency to practice if any
deficiencies then State Medical Board require SPEX exam by USMLE/ FSMB .

exhibit 9

ABIM is retaliating against me for the mistakes that ABIM does not admit
Changing scores , mixing up results of two candidates and refusing to follow its
own regulation by not allowing re examination option as explained . There is clear
discrimination between those who opt to take 10 year MOC exam and
Longitudinal LKA assessment . In my case no extra time is given for disturbance
during examination whereas LKA get extra time for each question in addition to
the 4 min per question . | was not allowed to consult any resources during exam

whereas LKA assessment allows to consult any resources except a person . The 10

 

 

year MOC exam was designed to exclude diverse doctors who complain about any

ABIM exam issues . High scores on 10 yr MOC are strongly correlated with socio
economic status and tend to disadvantage Black Brown doctors who score

significantly lower than their white peers . The cost of ABIM test its MKSAP
 

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products by itself are a hurdle for low income new graduates especially Black
Brown doctors who are taking this exam for first time . These inherent
imbalances are greatly exacerbated by private test preparation industry mainly
Medical Knowledge self assessment MKSAP owned by American College of
physicians . ACP. This is same organization that provides questions to ABIM for
examination purposes .The College that administers SAT has acknowledged the
differentials in scores across race but blames them on inequities in educational
preparation rather than test bias .The questions in ABIM exam 10 yr MOC are
itself biased associated with cultural capital easily accessible to those from more
elite background .Educators in medical schools eager to see their medical
students enter selective residency training programs shape their lessons to
conform with parameters set by ABIM so teachers in medical school are adapting
their instructions to the priorities of a self interested business which is acting as a
gatekeeper preventing physicians to be less varied by race, socioeconomic levels .
Physician interests and abilities are limited by ABIM 10 year MOC exam which
promotes crude memorization PREPPING rather than promote learning

experience as is being advertised by new Longitudinal LKA assessment where

more time is given along with consultation with any educational resource except a

person.

 
 

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If ABIM is not discriminating against me then | should be allowed to take
Longitudinal assessment option LKA as | scored near passing scores in year 1996
exhibit 11and again in year 2019exhibit 5 where ABIM is retaliating against me by
not providing additional 10 minutes or by not giving credit for 10 questions that |
went unanswered .| have scored above average scores on Pretest participation by
MKSAP owned by American College of Physicians Exhibit 13 . These are
similar continuing medical credits that are needed for Longitudinal assessment

option . exhibit 1

ABIM has no authority to order retraining ina residency program which are .
already insufficient that Medicare is funding 1000 new residency training spots
over five years to address physician shortage Exhibit 6 . In such a situation of
Omicron pandemic which is unlikely to end as per Dr Anthony Fauci Exhibit 7
ABIM has sidelined my career as even Medicaid provider enrollment require
Board certification status in spite of me being licensed in several US states Exhibit
14. .My spouse Dr Shahida Shuja has been financially destroyed as! am not

able to enroll in new Longitudinal assessment option to continue Board

certification issues . ABIM is ruthless in harming livelihood of physicians like me

as ABIM is not bound by any technical rules of evidence. ABIM can function as the

accuser, judge, and executioner all in one by its skilled litigation to recoup legal

 
 

 

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fees from those who do not capitulate . ABIM exam 10 yr. Traditional exam have a
commercial bias designed to fail candidates like me with only score of few
numbers time and again , making candidate like me to take the test time and
again , making them to generate a revenue for the Board . Such actions amount
to Exam crude memorization test rather than effort to update your clinical
Knowledge . ABIM video advertisement LKA assessment acknowledges Exam
prepping issue being absent in new LKA assessment . In spite of the fact that
ABIM has created illegal monopoly power in the market for initial certification
for internist ABIM has prevented the growth of any competition from any new
providers of certification exams especially when USMLE 3 is the only required
licensing examination administered by Federation of State Medical Board FSMB

Exhibit 9

SPEX exam administered by FSMB is NOT recognized as initial certification or
recertification at all SPEX reexamination procedure even sponsored by State

Medical Boards to meet licensure requirement and to determine competency

of licensed physicians do not require RETRAINING in the medical specialty aftera

physician has been licensed once . Exhibit 9
 

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RELIEF REQUESTED

ABIM acknowledges in its own online advertisement that new LKA assessment
offers greater flexibility, more convenience , faster feedback , access to resources
to keep your medical knowledge current . These greater flexibilities are Denied to
first time certification of licensed physicians who are forced to take 10 year
Traditional exam which is more crude memorization / PREPPING than learning
issue . ABIM is discriminating one set of licensed physicians ‘who enjoy all the
flexibilities where as other set of licensed physicians undergo the exam prepping
issues without access to resources whatsoever . This is unconstitutional policy of:

discrimination and ABIM should be ordered to make LKA assessment available to

all licensed US physicians .
ABIM policy of expiration of Eligibility of physician Exhibit 4 to take certifying
exam violates my constitutional rights to be treated equally and fairly . This policy

overrides the State Board of Medical Examiners of each state policy to

 
 

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determine competence to practice medicine independently according to

prevailing standards . exhibit 9 ABIM has not been authorized to administer such

a discriminatory policy by any state laws whatsoever . Licensing is jurisdiction of

each State Medical Boards NOT ABIM .State Medical Board require SPEX exam if
needed to determine competency but FSMB never requires RETRAINING as ABIM

requires .exhibit 9

ABIM continued actions have prevented me from obtaining enrollment in
Medicaid / Medicare whatsoever short circuiting my medical career in spite of
being licensed by State Medical Boards in New Jersey, Florida, Nevada, North
Carolina and Illinois to name a few valid licenses . exhibit 14 . ABIM be ordered to
pay $100,000 as compensation and ABIM be ordered to allow me to take new

Longitudinal Assessment option . New examination option should be available to

all licensed physicians irrespective whether first time new certification or

recertification issues . To allow Longitudinal evaluation LKA to one set of
physicians and denying to another set of physicians should be declared

unconstitutional / illegal .exhibit 1. Permission be granted to proceed in District

court as forma pauperis without prepaying feesor costs

 
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Any other relief that this court determines just and fair .

| declare under penalty of perjury that the foregoing is true and accurate

Signed this 28 dayof December 2021 Ane

Signature of plaintiff
Mailing address 65 Thorncliffe Park Dr Unit 1715
Toronto , Ontario, m4h1I2 , Canada
Phone 1-647-773-9028

Email fiazafzalmd@gmail.com

“x

Spt

~ Signature Second PLAINTIFF
Address ; 11818 ADEL road, Houston, Texas 77067

Phone 647-5104157

Email shahidashuja03@gmail.com
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CERTIFICATE OF SERVICE

On December 28,2021 | served American Board of Internal Medicine with the
Complaint filed in this court by mailing a copy to ABIM 510 Walnut street , suite

1700 Philadelphia , PA 19106-3699 by mailing Priority mail Canada Post.

December 28, 2021 ie
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. PLAINTIFF Signature Ain a

Plaintiff #2 signature Sremity—

65 Thorncliffe Park Dr, Unit 1715

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